            Case 1:23-cv-11053-GHW-JW Document 52-3 Filed 03/15/24 Page 1 of 4


                           STATE OF WYOMING * SECRETARY OF STATE
                                     BUSINESS DIVISION
                          Herschler Bldg East, Ste.100 & 101, Cheyenne, WY 82002-0020
                   Phone: 307-777-7311 · Website: https://sos.wyo.gov · Email: business@wyo.gov

                                                 Filing Information
                  Please note that this form CANNOT be submitted in place of your Annual Report.

Name                Bighorn Construction and Reclamation, LLC
Filing ID           Redacted
Type                Limited Liability Company                       Status                   Inactive -
                                                                                             Administratively
                                                                                             Dissolved (Tax)

General Information

Old Name                                                            Sub Status               Current
Fictitious Name                                                     Standing - Tax           Delinquent
                                                                    Standing - RA            Good
Sub Type                                                            Standing - Other         Good
Formed in           Wyoming                                         Filing Date              09/24/2012 3:27 PM
Term of Duration    Perpetual                                       Delayed Effective Date
                                                                    Inactive Date            11/09/2023

Principal Address                                           Mailing Address
777 Main St, Suite 2800                                     555 17th Street, Suite 1725
Fort Worth, TX 76102                                        Denver, CO 80202
Registered Agent Address
URS Agents, LLC
1507 Lampman Ct
Cheyenne, WY 82007

Parties

Type                  Name / Organization / Address
Organizer             Cole Johnson

Notes
Date                 Recorded By                Note




                                                                                                       Page 1 of 4
              Case 1:23-cv-11053-GHW-JW Document 52-3 Filed 03/15/24 Page 2 of 4


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Name              Bighorn Construction and Reclamation, LLC
Filing ID         Redacted
Type              Limited Liability Company                           Status                Inactive -
                                                                                            Administratively
                                                                                            Dissolved (Tax)

Most Recent Annual Report Information
Type             Original                                                                 AR Year   2022
License Tax      $60.00                         AR Exempt     N                           AR ID     07583183
AR Date          8/25/2022 12:55 PM
Web Filed        Y

Officers / Directors

Type                   Name / Organization / Address

Principal Address                                           Mailing Address
777 Main St, Suite 2800                                     555 17th Street, Suite 1725
Fort Worth, TX 76102                                        Denver, CO 80202

Annual Report History

Num             Status           Date           Year         Tax
01907814        Original         10/02/2013     2013         $50.00
02082321        Original         08/20/2014     2014         $159.32
02364554        Original         11/24/2015     2015         $241.93
02626695        Original         10/14/2016     2016         $228.24
    Principal Address 1 Changed From: 9 Short Trail To: 1100 West Richards
    Principal Address 2 Changed From: No value To: PO Box 1512
    Principal State Changed From: WY To: Wyoming
03032997        Original         09/21/2017     2017         $407.84
03826016        Original         09/14/2018     2018         $288.40
05205209        Original         11/12/2019     2019         $1,883.92
05959879        Original         10/23/2020     2020         $460.00
06582218        Original         08/16/2021     2021         $60.00
    Principal Address 1 Changed From: 1100 West Richards To: 777 Main St, Suite 2800
    Principal City Changed From: Douglas To: Fort Worth
    Principal State Changed From: Wyoming To: TX
    Principal Postal Code Changed From: 82633 To: 76102
07583183        Original         08/25/2022     2022         $60.00



                                                                                                      Page 2 of 4
               Case 1:23-cv-11053-GHW-JW Document 52-3 Filed 03/15/24 Page 3 of 4


                                                Filing Information
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Name                Bighorn Construction and Reclamation, LLC
Filing ID           Redacted
Type                Limited Liability Company                            Status                    Inactive -
                                                                                                   Administratively
                                                                                                   Dissolved (Tax)

Amendment History
ID                   Description                                                      Date
2023-004458808 Dissolution / Revocation - Tax                                         11/09/2023
       Filing Status Changed From: Active To: Inactive - Administratively Dissolved (Tax)
       Inactive Date Changed From: No Value To: 11/09/2023
2023-004343615 Delinquency Notice - Tax                                               09/02/2023
2021-003175260 Change of Agent                                                        04/12/2021
       Registered Agent # Changed From: 0192233 To: 0204252
       Registered Agent Organization Name Changed From: No Value To: URS Agents, LLC
       Registered Agent First Name Changed From: Cole To: No Value
       Registered Agent Last Name Changed From: Johnson To: No Value
       Registered Agent Physical Address 1 Changed From: 1100 West Richards To: 1507 Lampman Ct
       Registered Agent Physical Address 2 Changed From: PO Box 219 To: No Value
       Registered Agent Physical City Changed From: Douglas To: Cheyenne
       Registered Agent Physical County Changed From: Converse To: Laramie
       Registered Agent Physical Postal Code Changed From: 82633 To: 82007
2020-002924515 Delinquency Notice - Tax                                               09/02/2020
2019-002687116 Dissolution / Revocation - Tax                                         11/12/2019
       Filing Status Changed From: Active To: Inactive - Administratively Dissolved (Tax)
       Inactive Date Changed From: No Value To: 11/12/2019
2019-002615638 Delinquency Notice - Tax                                               09/02/2019
2018-002364518 Delinquency Notice - Tax                                               09/02/2018
2017-002125572 Delinquency Notice - Tax                                               09/02/2017
2017-002033145 RA Name/Address Change                                                 03/15/2017
2016-001946867 Delinquency Notice - Tax                                               09/02/2016
2015-001824069 Reinstatement - Tax                                                    11/24/2015
       Filing Status Changed From: Inactive - Administratively Dissolved (Tax) To: Active
       Inactive Date Changed From: 11/09/2015 To: No value
2015-001784744 Dissolution / Revocation - Tax                                         11/09/2015
       Filing Status Changed From: Active To: Inactive - Administratively Dissolved (Tax)
       Inactive Date Changed From: No Value To: 11/09/2015
2015-001761126 Delinquency Notice - Tax                                               09/02/2015
2013-001534797 Delinquency Notice - Tax                                               09/02/2013
                                                                                                             Page 3 of 4
                Case 1:23-cv-11053-GHW-JW Document 52-3 Filed 03/15/24 Page 4 of 4


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Name               Bighorn Construction and Reclamation, LLC
Filing ID          Redacted
Type               Limited Liability Company                        Status                   Inactive -
                                                                                             Administratively
                                                                                             Dissolved (Tax)
See Filing ID       Initial Filing                                              09/24/2012




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